Case 1:04-cr-10097-.]DT Document 46 Filed 07/15/05 Page 1 of 2 Page|D 41

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IN THE UNITED STATES DISTRICT COURT '

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FOR THE WEsTERN DISTRICT oF TENNESSEE 5\/05 00
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UNITED sTATEs OF AMBRICA "”"'-"é§$i’@c§,j{’/?/"
vs Criminal No. 1:04~cR~10097-01-T

DEME'I'RIUS CROCKER

ORDER CONTINUING TRIAL DA'I'E AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT
At the request of counsel, the report date and trial date in
the above styled matter is hereby continued to allow counsel for the
defendant and government additional time to prepare. The ends of
justice served by taking such action outweigh the best interest of
the public and the defendant in a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
Thursday, October 13, 2005 at 8:30 A.M. and reset TRIAL DATE for
Monggy, October §§L_ZOOS at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
August 8, 2005 to October 24, 2005, as excludable delay under Title

18 U.S.C.§3l6l(h)(3)(A)(B)and(h)(8) (iv).

IT Is so ORDERED. % b

JAME D, TODD
UNI D STATES DISTRICT JUDGE

DATE ; £9¢7 WWJ/

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:04-CR-10097 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

